6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 1 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 2 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 3 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 4 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 5 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 6 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 7 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 8 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 9 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 10 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 11 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 12 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 13 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 14 of 15
6:17-cv-02334-AMQ   Date Filed 08/30/17   Entry Number 1-1   Page 15 of 15
